                Case 1:21-bk-00002       Document No. 7       Filed 08/06/21     Page 1 of 2
                                                                                       FILED
                                                                                          Clerk
                                                                                      District Court
                                                                                     AUG 06 2021
                                                                 for the Northern Mariana Islands
                                                                 By________________________
                                                                           (Deputy Clerk)
                                   IN THE UNITED STATES DISTRICT COURT
 1                                 FOR THE NORTHERN MARIANA ISLANDS
 2                                         BANKRUPTCY DIVISION

 3
                                                            Bankruptcy Case No. 1:21-bk-00002
 4
     IN RE:
 5                                                          CERTIFICATE OF MAILING
     JULIE ANN PALACIOS GUERRERO
 6
     SSN: xxx-xx-6222;
 7                                     Debtor,
 8

 9            I hereby certify that on the 1st day of June 2020, a true and correct copy of the “Meeting of
10   Creditors (ECF 5) and Amended Meeting of Creditors (ECF 6)” was electronically served upon

11   the following using the Court's CM/ECF system:
        •     Kathlyn Selleck on behalf of Trustee Kathlyn Selleck
12
              ch13mail@aol.com
13      •     Office of the U.S. Trustee
              ustpregion15.hi.ecf@usdoj.gov
14
              Further, I certify that on the 6th day of August 2021, that a true and correct copy was mailed
15
     via U.S. Mail, first class postage prepaid and properly addressed to the debtor and each party on the
16
     List of Creditors.
17

18                                                         HEATHER L. KENNEDY, Clerk of Court
19

20                                                                By: __/s/________________
     Date of Issuance: August 8, 2021                             Aiko D. Erungel, Deputy Clerk
21

22

23

24
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              UNITED STATES DISTRICT COURT FOR THE NORTHERN MARIANA ISLANDS
                                    BANKRUPTCY DIVISION
                                      CREDITOR MATRIX
                                      CASE NUMBER: 1:21-bk-00002

Julie Ann Palacios Guerrero            Office of the U.S. Trustee
Capital Hill Isa Drive                 1132 Bishop Street, Suite 602
P.O. Box 500251                        Honolulu, HI 96813
Saipan, MP 96950



Kathlyn Selleck                        Robert Tenorio Torres
P.O. Box 315396                        Attorney at Law
Tamuning, GU 96931                     Plata Drive, Whispering Palms (Chalan Ki
                                       P.O. Box 503758
                                       Saipan, MP, 96950




TOTAL NUMBER OF CREDITORS: 4




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